                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

KASIE STEVENS-BRATTON, individual     )
and on behalf of all other similarly situated,
                                      )
                                      )
      Plaintiff,                      )   No. 2:15-cv-2472
                                      )   Oral Argument Requested
v.                                    )
                                      )
TRUGREEN, INC.,                       )
                                      )
      Defendant.                      )
______________________________________________________________________________

REPLY MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION FOR PARTIAL
                     SUMMARY JUDGMENT




                                                 George T. Lewis III (TN #7018)
                                                 Matthew S. Mulqueen (TN #28418)
                                                 Mitchell S. Ashkenaz (#34129)
                                                 BAKER, DONELSON, BEARMAN, CALDWELL
                                                     & BERKOWITZ, PC
                                                 First Tennessee Building
                                                 165 Madison Avenue, Suite 2000
                                                 Memphis, Tennessee 38103
                                                 Telephone: 901.526.2000
                                                 Facsimile: 901.577.0818
                                                 blewis@bakerdonelson.com
                                                 mmulqueen@bakerdonelson.com
                                                 mashkenaz@bakerdonelson.com

                                                 Counsel for Defendant TruGreen, Inc.
       Defendant TruGreen, Inc. (“TruGreen”), pursuant to Local Rule 56.1(c) and by and

through undersigned counsel, files this reply memorandum in support of its motion for partial

summary judgment. See ECF Nos. 156, 157.1

                  OBJECTIONS TO PLAINTIFF’S RULE 56 EVIDENCE

       Plaintiff’s filings in response to TruGreen’s motion for partial summary judgment include

a Declaration from Heather Rolbiecki, ECF No. 167, and anonymous Yelp reviews, attached as

Exhibit F to the Declaration of Jennifer Rust Murray, ECF 165-2. This previously-undisclosed

evidence is inadmissible and should be stricken or disregarded by the Court when considering

TruGreen’s motion. See Fed. R. Civ. P. 56(c)(2); Local Rule 56.1(e).

       On November 9, 2017, U.S. Magistrate Judge Tu Pham entered a Scheduling Order in

this case. See ECF No. 116. Pursuant to that order, the parties exchanged Rule 26(a) Initial

Disclosures on November 30, 2017. Plaintiff’s Initial Disclosures did not include any reference

to Ms. Rolbiecki or to Yelp reviews. See Plaintiff’s Initial Disclosures (attached as Exhibit A).

The court’s scheduling order also set a merits discovery cutoff of July 31, 2018. See ECF No.

116. Prior to the discovery deadline, Plaintiff failed to amend her Rule 26(a) Initial Disclosures

to include any reference to Ms. Rolbiecki or to Yelp reviews. Nor did Plaintiff make any

mention of either source of information in her written responses to TruGreen’s discovery

requests, in her production of documents, or during her deposition.

       Despite never disclosing this evidence during discovery, the material constitutes the

primary “support” for her attempts to manufacture disputed issues of fact. See, e.g., Plaintiff’s

1
 In support of its motion, TruGreen also relies on its Response to Plaintiff’s Counter-Statement
of Undisputed Material Facts. Citations to TruGreen’s Statement of Undisputed Material Facts,
ECF No. 157, will refer to “TruGreen’s SUMF.” Citations to Plaintiff’s Response to
Defendant’s Statement of Undisputed Material Facts and Counter-Statement of Undisputed
Material Facts, ECF No. 164, will refer to “Plaintiff’s SUMF.” Citations to TruGreen’s
Response to Plaintiff’s SUMF will refer to “TruGreen’s RSUMF.”



                                                1
SUMF ¶¶ 9, 10, 11, 12, 13, 14, 15, 17, 18, 19, 26, 27, 28. Plaintiff cites the newly-disclosed

evidence in support of her so-called factual contentions that TruGreen intentionally places

telephone calls in violation of the TCPA, fails to add customers to its internal DNC list, calls

individuals despite their presence on the National DNC Registry, and fails to follow its written

DNC policies and procedures. See id. The Court should not allow this evidence in the record.

       First, the Court should strike the declaration of Jennifer Rust Murray because it is not

signed by Ms. Murray. The Declaration is instead signed by Beth E. Terrell, another attorney at

Ms. Murray’s firm. “An affidavit or declaration used to support or oppose a motion must be

made on personal knowledge, set out facts that would be admissible in evidence, and show that

the affiant or declarant is competent to testify on the matters stated.” Fed. R. Civ. P. 56(c)(4).

“The probative force of a declaration subscribed under penalty of perjury derives from the

signature of the declarant. Without the declarant’s signature, a declaration is completely robbed

of any evidentiary force.” Blumberg v. Gates, No. CV 00-05607 GAF, 2003 WL 22002739, at

*1 (C.D. Cal. Aug. 19, 2003). Ms. Terrell’s signature for Ms. Murray “is unacceptable, as one

may not sign a declaration ‘for’ another in this manner, with no explanation proffered.” Id. The

court should strike or disregard the entire Murray Declaration.

       Second, the Court should strike the Declaration of Heather Rolbiecki and the anonymous

Yelp reviews because Plaintiff failed to disclose the material during discovery. “A party that

without substantial justification fails to disclose information required by Rule 26(a) . . . is not,

unless such failure is harmless, permitted to use as evidence at a trial, at a hearing, or on a

motion any witness or information not so disclosed.” Fed. R. Civ. P. 37(c)(1). The factual

disputes that Plaintiff attempts to create with this evidence go directly to the elements of

Plaintiff’s internal DNC claims and TruGreen’s safe harbor defense to Plaintiff’s National DNC




                                                 2
Registry claims.2 Plaintiff makes no attempt to argue that she was unaware of the elements of

these claims and defenses, or that the newly-cited evidence was unavailable before the close of

discovery.3 The failure to disclose this material will prejudice TruGreen if the court fails to

strike or disregard the material. By waiting until after the close of merits discovery, Plaintiff has

prevented TruGreen from deposing Ms. Rolbiecki, comparing and refuting her allegations with

TruGreen’s own records, probing the veracity of the anonymous, cherry-picked Yelp reviews,

introducing evidence of positive reviews, and otherwise producing discovery to attack the

relevance and truth of the matters alleged in the newly-disclosed material.4

          Third, the Court should strike Exhibit F to the Murray Declaration because “Yelp! pages

and ratings are out of court statements, which, if being offered for the truth of the matter

asserted, are inadmissible under Fed. R. Evid. 801.” See Mathew Enter., Inc. v. Chrysler Grp.

LLC, No. 13-CV-04236-BLF, 2016 WL 11432038, at *2 (N.D. Cal. Sept. 21, 2016). Plaintiff

offers the out-of-court statements in an attempt to prove the truth of the matters purportedly

described in the reviews and argued in Plaintiff’s brief—that TruGreen intentionally violated the

TCPA when it placed calls to these individuals and to the Plaintiff, that TruGreen failed to add

individuals to its internal DNC list, and that TruGreen failed to follow regulations regarding the

2
    See, e.g., Plaintiff’s Response at 1, 4-6, 8-11.
3
  In fact, the Rolbiecki Declaration describe events allegedly occurring between 2017 and July
2018, well before the close of discovery in this case. See Rolbiecki Decl. ¶¶ 2-7. There is
similarly no justification for the late disclosure of the Yelp reviews, which appear to have been
publicly-available for up to three years. See Murray Decl. Ex. F.
4
  For this reason, courts in the Sixth Circuit have not hesitated to strike evidence at the motion
for summary judgment stage based on a party’s failure to disclose the evidence during discovery.
See Shulman v. Amazon.com.kydc, LLC, No. CIV.A. 13-5-DLB-REW, 2015 WL 1782636, at *7
(E.D. Ky. Apr. 20, 2015), aff’d sub nom. Shulman v. Amazon.com.kydc, Inc., No. 15-6211, 2017
WL 5135522 (6th Cir. Jan. 11, 2017); Henderson v. Reyda, No. 3:03-CV-703, 2005 WL
6218586, at *3 (E.D. Tenn. June 7, 2005); Kovacevich v. Vanderbilt Univ., No. 3:09-0068, 2010
WL 1492581, at *9 (M.D. Tenn. Apr. 12, 2010).



                                                       3
National DNC Registry. See, e.g., Plaintiff’s RSUMF ¶¶ 9, 14; Plaintiff’s Response at 4, 6, 9.

Moreover, the anonymous reviews lack the requisite “circumstantial guarantees of

trustworthiness” to fall under the residual exception to the rule against hearsay.5

       Accordingly, TruGreen requests that the Court strike or disregard the entire Murray

Declaration, the entire Rolbiecki Declaration, the anonymous reviews attached as Exhibit F to

the Murray Declaration, and all references to such material in Plaintiff’s filings.6

                                           ARGUMENT

       The undisputed material facts in this case demonstrate that Plaintiff cannot establish the

elements of her third and fourth causes of action and that TruGreen is entitled to the benefit of

the regulatory safe harbor under Plaintiff’s fifth and sixth causes of action.7 The record shows

that TruGreen established robust policies and procedures to comply with the TCPA prior to

placing its alleged calls to Plaintiff.    These policies and procedures require dismissal of

Plaintiff’s claims regardless of whether TruGreen called her in 2015 despite her alleged request

to the contrary.   That result is, after all, the clear intent of the applicable regulations: to

encourage entities to comply with the TCPA and to not penalize them when mistakes occur

despite such compliance efforts. 47 C.F.R. § 64.1200(d); 47 C.F.R. § 64.1200(c).

       Plaintiff’s Response largely avoids discussion of the substance of TruGreen’s policies

and procedures. Instead—putting aside her reliance on the inadmissible evidence discussed

5
  Mathew Enter., 2016 WL 11432038, at *2; see also Doe v. Kamehameha Schs./Bernice Pauahi
Bishop Estate, No. 08-00359, 2008 WL 5423191, at *4 (D. Hawai’i Dec. 31, 2008) (“[U]nder the
cloak of anonymity, people will make outrageous, offensive, and even nonsensical statements.”).
6
  If the Court declines to strike or exclude the Rolbiecki Declaration, then TruGreen requests
additional time to pursue discovery on the issues raised in the document.
7
 Plaintiff’s first and second causes of action are based on the mistaken allegation that TruGreen
used an automatic telephone dialing machine to call her. TruGreen did not, and has a pending
motion for summary judgment seeking dismissal of those two claims. See ECF No. 109.



                                                  4
above—Plaintiff’s primary argument is that TruGreen’s internal DNC policies were not in place

when she allegedly requested not to be called in July and August 2014. She also argues that

TruGreen’s National DNC Registry procedures were not in place until December 2015.

        Plaintiff’s argument is factually incorrect and legally irrelevant. As an initial matter,

Plaintiff’s new focus on TruGreen’s policies as of July and August 2014 is strange because she

failed to inquire about that time period during discovery. Plaintiff’s requests for production, for

example, were expressly limited to “any time from September 24, 2014 through the present.”

Plaintiff’s Requests for Production (attached as Exhibit B). Had she asked, she would have

learned that TruGreen did have the same robust policies and procedures in place, for both

internal DNC list and National DNC Registry purposes, during the early part of 2014 (and

earlier).   Although the record clearly refutes Plaintiff’s contentions, her argument is also

irrelevant because the proper inquiry under Sections 64.1200(d) and (c) is whether TruGreen

established written policies and procedures prior to its alleged calls to Plaintiff in 2015, not at the

time of Plaintiff’s alleged requests not to be called in 2014.          With Plaintiff’s time-based

argument swept aside, her Response is left with a handful of attempts to manufacturer disputed

issues of fact through misleading discussions of the testimony and documentary evidence in the

case. Each of these so-called disputes is easily resolved by a complete review of the record. For

the reasons addressed below, the undisputed material facts compel the dismiss of Plaintiff’s third

through sixth causes of action.

I.      PLAINTIFF FAILS TO IDENTIFY A DISPUTED ISSUE OF FACT REGARDING
        TRUGREEN’S COMPLIANCE WITH 47 C.F.R. § 64.1200(D).

        To prevail on her claims under Section 64.1200(d), Plaintiff must prove that TruGreen

initiated telemarketing calls to her in 2015 without “institut[ing] procedures for maintaining a list

of persons who request not to receive telemarketing calls made by or on behalf of that person or



                                                  5
entity.”     47 C.F.R. § 64.1200(d).     The relevant inquiry for these claims is not “the calls

themselves, but [] hav[ing] the required procedures in place prior to the initiation of the calls.”

Simmons v. Charter Commc’ns, Inc., 222 F. Supp. 3d 121, 131 (D. Conn. 2016), aff’d, 686 F.

App’x 48 (2d Cir. 2017).

           Plaintiff’s claims must be dismissed because Plaintiff does not dispute that

TruGreen had such procedures in place prior to the calls.                 Plaintiff’s contention that

TruGreen did not implement internal DNC procedures until September 29, 2014 is irrelevant.

Plaintiff concedes that TruGreen had the procedures in place after September 29, 2014, and

therefore before the calls. See, e.g., Plaintiff’s SUMF ¶ 12(a). That alone requires dismissal of

Plaintiff’s claims.

           But Plaintiff’s contention is also factually incorrect. Plaintiff’s argument is based on a

September 29, 2014 date listed on TruGreen’s Do Not Contact Legal Policy. Plaintiff fails to

mention that the September 29 date is merely the “Last Updated” date, and that the Policy also

states that it was issued on January 1, 2014. See TruGreen’s RSUMF ¶ 22.8 The September 29,

2014 version of the Policy added images to help guide associates to the appropriate training on

ServiceMaster University, but contained the same substantive policy directives (and referenced

the same mandatory DNC training) as the version preceding the update. See id. At all times

during 2014 and 2015, TruGreen’s Do Not Contact Legal Policy specified, in writing, that sales

and branch associates complete annual TCPA training that included instruction on compliance

with applicable rules and regulations regarding TruGreen’s internal do-not-call list and the

National Do-Not-Call Registry. See id.



8
  The fact that Plaintiff failed to explore this date issue during discovery, and is only now raising
it in her Response, is further demonstration of the meritless nature of this misleading argument.



                                                   6
       Plaintiff’s argument that TruGreen’s internal DNC procedures are “imperfect” is

also off the mark. Citing testimony from TruGreen corporate representative Matt Zoller,

Plaintiff claims that TruGreen does not know who is responsible for entering information on

paper DNC request forms into TruGreen’s electronic DNC Portal. See Response at 2, 8. Mr.

Zoller actually testified that the person designated to enter such information into the DNC Portal

“depend[s] on the location and the circumstances of the requests.” Zoller Dep. at 61:6-8.

Consistent with that testimony, TruGreen’s DNC Policy required employees to give completed

paper DNC forms (which were only used if employees could not enter the information

electronically) to “a manager, [Customer Service Representative] or the designated branch

associate who has access to enter the request into Olympus.” TruGreen’s RSUMF ¶ 23.

       Plaintiff’s remaining arguments rest on similar distortions of the record. Plaintiff

claims that TruGreen only keeps a record of internal DNC requests for two years instead of five.

First, the relevant regulation actually states that a “do-not-call request must be honored for 5

years from the time the request is made.” 47 C.F.R. § 64.1200(d)(6) (emphasis added). The

section says nothing about record retention. Second, the document Plaintiff cites simply says

that TruGreen will keep paper DNC request forms for two years. All DNC requests initially

recorded on a paper form are subsequently entered into TruGreen’s electronic DNC Portal. See

TruGreen’s RSUMF ¶ 24. The DNC Portal, as well as TruGreen’s Mission system, maintains

records of DNC requests—and TruGreen honored such requests—for at least five years. See id.

Lastly, the fact that TruGreen’s sales and telemarketing employees entered DNC requests into

two different software programs is not in dispute. Contrary to Plaintiff’s implication that such

measures are deficient, the procedures actually show that TruGreen thoughtfully tailored its




                                                7
compliance efforts to fit groups of employees in different roles and workstations throughout the

organization. See TruGreen’s SUMF ¶ 12(b)-(c).

       Because Plaintiff cannot demonstrate that TruGreen failed to implement the procedures

set out in 47 C.F.R. § 64.1200(d) prior to allegedly calling her in 2015, the Court should dismiss

the third and fourth causes of action in her Complaint.

II.    PLAINTIFF FAILS TO IDENTIFY A DISPUTED ISSUE OF FACT REGARDING
       APPLICATION OF THE SAFE HARBOR SET OUT IN 47 C.F.R. § 64.1200(C).

       The TCPA’s implementing regulations provide a safe harbor for an entity that

erroneously calls an individual on the National DNC Registry as long as the entity, as part of its

routine business practice, implements the policies and procedures set out in 47 C.F.R.

§ 64.1200(c)(2)(i). Plaintiff’s Response to TruGreen’s safe harbor defense rests primarily on

misguided and factually incorrect arguments on the timing (not substance) of TruGreen’s

policies and procedures.      But the undisputed material facts demonstrate that TruGreen

implemented such procedures prior to its calls to Plaintiff, requiring dismissal of Plaintiff’s fifth

and sixth causes of action.

       Contrary to Plaintiff’s contentions, TruGreen’s policies, procedures, and training

on the National DNC Registry were in existence long before the alleged 2015 calls.

TruGreen’s DNC Legal Policy—which Plaintiff admits was in place at least by September 29,

2014—stated that “TruGreen [wa]s 100% committed to full compliance with all state

and federal telemarketing law.” TruGreen’s SUMF, Ex. 7 (emphasis added). The Legal Policy

directed associates to mandatory training courses that included specific discussion of, and

training on, the National DNC Registry. See TruGreen’s RSUMF ¶ 32. Consistent with that

testimony, the records of annual DNC training completed by Little Rock branch employees—the




                                                 8
branch from which 2015 calls originated—include 2014 training completed as early as February

2014. See TruGreen’s RSUMF ¶ 32.

       Plaintiff’s reliance on a contract between TruGreen and Experian dated December

2015 is misplaced.     TruGreen has received National DNC Registry-related services from

Experian since at least 2013. Id. ¶ 33. Prior to January 14, 2014, TruGreen was a subsidiary of

ServiceMaster. During that time, TruGreen received services from Experian pursuant to a

contract between ServiceMaster and Experian. Id. Following the spin-off, 9 TruGreen continued

receiving services from Experian pursuant to a Transition Services Agreement, until TruGreen

executed its own contract with Experian in December 2015. Id. At all times during 2014 and

2015, TruGreen followed the policies, practices, and procedures outlined in Paragraphs 18(a)-(g)

of TruGreen’s SUMF to comply with regulations regarding the National DNC Registry. Id.10

       Finally, Plaintiff has failed to identify a factual dispute regarding the erroneous

nature of TruGreen’s 2015 calls. Plaintiff’s arguments on this issue consist of citations to

inadmissible and unreliable allegations by a handful of (mainly anonymous) individuals and the

false contention that TruGreen implemented a “forward-looking only” DNC practice in

December 2015.11 See Response at 10. Plaintiff does not dispute that the eight alleged calls

9
  TruGreen explained the nature of its relationship with ServiceMaster to Plaintiff during
discovery. See, e.g., ECF No. 110 ¶¶ 11, 15-17. Plaintiff nevertheless chose not to seek
discovery from TruGreen or ServiceMaster regarding the impact of TruGreen’s spin-off on its
relationship with Experian.
10
  Similarly, TruGreen used the ClickPoint DNC Portal to retain records of DNC requests since
2012. See TruGreen’s RSUMF ¶ 33.
11
   Plaintiff’s argument that TruGreen’s scrubbing procedures were “forward-looking only” is
premised on the false contention that TruGreen only began scrubbing for registrants on the
National DNC Registry in December 2015. See TruGreen’s RSUMF ¶ 33. Moreover, the
contention is simply unsupported by the record—TruGreen’s scrubbing procedure routinely
removes numbers from calling campaigns regardless of when the numbers were added to the
National DNC Registry. See TruGreen’s RSUMF ¶ 34.


                                               9
originated by an associate manually dialing her number into a landline telephone at TruGreen’s

Little Rock branch. See Plaintiff’s SUMF ¶¶ 2-8. These calls were not made pursuant to a

centralized TruGreen calling campaign, which would have scrubbed Plaintiff’s number given her

presence on the National DNC Registry. See id. ¶¶ 7, 15, 18. If the eight telephone calls to

Plaintiff were made for telemarketing purposes, as Plaintiff alleges, then they were likely made

using a paper calling list. See id. ¶ 18(h). TruGreen had a policy and procedure in place for such

calls. See id. However, an agent may have erroneously called Plaintiff using an expired paper

list, without checking SalesExec or Mission for up-to-date DNC information as required by

TruGreen’s policies and procedures. See id. Any telemarketing call that Plaintiff received more

than thirty days after Plaintiff requested that TruGreen stop calling her was therefore made in

error. See id. ¶ 9.

                                         CONCLUSION

        For all of the reasons addressed above and in TruGreen’s original memorandum, the

Court should dismiss Plaintiff’s third through sixth causes of action with prejudice.

                                                     Respectfully Submitted,


                                                     s/ George T. Lewis III
                                                     George T. Lewis III (TN #7018)
                                                     Matthew S. Mulqueen (TN #28418)
                                                     Mitchell S. Ashkenaz (#34129)
                                                     BAKER, DONELSON, BEARMAN, CALDWELL
                                                         & BERKOWITZ, PC
                                                     First Tennessee Building
                                                     165 Madison Avenue, Suite 2000
                                                     Memphis, Tennessee 38103
                                                     Telephone: 901.526.2000
                                                     Facsimile: 901.577.0818
                                                     blewis@bakerdonelson.com
                                                     mmulqueen@bakerdonelson.com
                                                     mashkenaz@bakerdonelson.com

                                                     Counsel for Defendant TruGreen, Inc.


                                                10
                               CERTIFICATE OF SERVICE

        I hereby certify that, on November 30, 2018, the foregoing was electronically filed with
the Clerk of the Court using the CM/ECF system, which will send a notification to the attorneys
of record in this matter who are registered with the Court’s CM/ECF system.


                                                   s/ George T. Lewis III




                                              11
